    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 1 of 67



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION


Abdul Aleem s/o MM Ibrahim, Jamilah Binte
Abdullah, Pok Siok Kee, Eng Ooi Hieng, Swee
Hang Danny Tan, Tong Lay Yeen Giovanna,             Case No. 1:15-cv-00085
Hooi Hian Lee, Jaryl Tan Hock Seng, Roger
Teo Kok Wei, Teo Khim Ho, Man Hong Lee,
Gatewoods Investment PTE. LTD.,
Panircelvan S/O Kaliannan, Thong Juay Koh,
Siew Geok Tong, Sze Seng Tan, Tan Chin
Hiang, Tan Sweet Keong, and Marcus Ian Tan
Guan Xing, individually and on behalf of
themselves and all others similarly situated,

                                  Plaintiffs,

       vs.

PEARCE & DURICK, and JONATHAN P.
SANSTEAD,

                               Defendants


DOMINIC WRIGHT, MARTIN LEESE,
ANDREW CHITTENDEN, WHITE ROSE                       Case No. 1:15-cv-00098
PROPERTIES, LLC, STEPHEN ROYALL,
STEPHEN ROYALL AND MARIA
THOMSON S.M.S.F., LLC, PETER
MCRAE, MCRAE FAMILY HOLDINGS,
INC., MARTIN ABSIL, MIN-WEI PETER
LIU,
ADRIEN VINCIGUERRA, GAEL
VINCIGUERRA, JAMES CAMPION,
PRABAHARAN SUBRAMANIAM,
ADRIAN SENG YEE PONG, TREVOR
LOWMAN and ANNABEL LOWMAN, on
behalf of themselves and all others similarly
situated,

                                 Plaintiffs,
       vs.

PEARCE & DURICK,

       Defendant.

                                                1
    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 2 of 67



                    DECLARATION OF J. BARTON GOPLERUD
               IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
                FOR APPOINTMENT OF INTERIM LEAD COUNSEL

       J. BARTON GOPLERUD declares as follows pursuant to 17 U.S.C. §1746:

       1.      I am a shareholder of the firm of Hudson, Mallaney, Shindler & Anderson,

P.C.and am one of the attorneys for Plaintiffs in the above-captioned matters. I am familiar with

the proceedings in this case. I respectfully submit this Declaration in support of Plaintiffs’

Unopposed Motion for Appointment of Interim Lead Counsel (in the proposed form submitted

herewith).

       2.      Annexed hereto as Exh. 1 is a true copy of the firm biography of Peiffer Rosca

Wolf Abdullah Carr & Kane, A Professional Law Corporation.

       3.       Annexed hereto as Exh. 2 is a true copy of the firm biography of Hudson,

Mallaney, Shindler & Anderson, P.C.

       4.      Annexed hereto as Exh. 3 is a true copy of the firm biography of Law Office of

Christopher J. Gray, P.C.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the __ day of August, 2015




                               J. BARTON GOPLERUD




                                                 2
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 3 of 67




                         Exhibit 1
     Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 4 of 67




         Peiffer Rosca Wolf Abdullah Carr & Kane, APLC

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New Orleans, LA 70170
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Pittsford, NY 14534
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Fax: 888-411-0038


        Peiffer Rosca Wolf Abdullah Carr & Kane, APLC (“Peiffer Rosca Wolf”) was founded in
2013. Joseph Peiffer, Peiffer Rosca Wolf’s, managing partner, previously was a litigation partner
at Fishman Haygood, LLP in New Orleans. Peiffer Rosca Wolf handles a wide variety of cases,
but its class action practice is focused on representing individuals and institutions that have
suffered losses due to investment fraud or breaches of fiduciary responsibility.

        Peiffer Rosca Wolf has been appointed class counsel serves as counsel in numerous class
actions, including:

        Bilewicz v. FMR LLC, a case brought on behalf of current and former employees of Fidelity
Investments, alleging that Fidelity violated ERISA by offering exclusively high-fee Fidelity
mutual fund products in its retirement plan and by repeatedly adding funds to the plan with little
or no track record. Plaintiffs further alleged that the Fidelity plan's fees are very high for a multi-
billion dollar plan, and Fidelity has failed to follow sound fiduciary practices for multi-billion
dollar plans. This case was successfully settled, and Peiffer Rosca Wolf was approved as co-class
counsel in that action.

       In re Cox Enterprises, Inc. Set-Top Cable Television Box Antitrust Litigation, Peiffer Rosca
is on the plaintiff’s steering committee of this multi-district litigation consolidating numerous
regional antitrust class actions involving allegations that Cox illegally tied rental of its cable set-
     Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 5 of 67




top boxes to the provision of cable television services. The court recently certified the first regional
class that it considered, and Peiffer Rosca Wolf was approved as co-class counsel in that action.

       Peiffer Rosca Wolf currently serves as counsel for plaintiffs in numerous class actions,
including:

        In re Fidelity ERISA Float Litigation, a case involving claims brought by participants in
various ERISA plans administered by Fidelity, on behalf of those plans, alleging that Fidelity
violated ERISA by improperly using “float” income received as interest on plan assets to pay itself
fees and failing to crediting the amount of that float income to the plans or their participants.

        Whitley, et al. v. J.P. Morgan Chase & Co., et al., a class action lawsuit on behalf of
retirement investors against J.P. Morgan Chase & Co. and various other J.P. Morgan entities over
the sale and administration of the JP Morgan Stable Value Fund. Plaintiffs allege that JP Morgan
breached its fiduciary duties under ERISA by including in the Stable Value Fund numerous risky
investments and mortgage-related assets, the losses on which caused investors in the Fund to
receive returns that grossly underperformed those of other similar funds.

        American Chemicals & Equipment Inc. 401(K) Retirement Plan v. Principal Management
Corporation, et al., a case involving claims brought by ACE 401(k) Plan, on behalf of the
shareholders of six mutual funds, against the investment advisors for those funds. Plaintiff alleges
that the defendants breached their statutory fiduciary duty under Section 36(b) of the Investment
Company Act of 1940 (“ICA”), 15 U.S.C. § 80a-35(b), by charging unfair and excessive fees for
their advisory services and retaining excess profits derived from economies of scale.

        Carol Prock v. Thompson National Properties, LLC, et al., a securities class action filed
on behalf of investors in the TNP 6700 Santa Monica Boulevard, a real estate investment program
that raised approximately $17 million from the investing public. Claims are predicated upon
alleged material misrepresentations and omissions in the program’s offering documents by its
sponsor and officers and directors of the sponsor.

        Jon Hanson v. Berthel Fisher & Company Financial Services, Inc., et al., a securities class
action filed on behalf of investors in a real estate investment program that raised approximately
$26 million from the investing public. Claims are predicated upon the role played by Berthel
Fisher, the managing broker-dealer of the program that allegedly organized and oversaw the
securities offering by the Program while aware of misrepresentations and omissions in the
Program’s offering documents.

         Lewis Booth, et al. v. Strategic Realty Trust, Inc. (f/k/a TNP Strategic Retail Trust, Inc.), et
al., a securities class action filed on behalf of investors in a real estate investment program that
raised approximately $90 million from the investing public. Claims are predicated upon alleged
material misrepresentations and omissions by the issuer, its sponsor, and its officers and directors,
in the Program’s offering documents.
    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 6 of 67




                             Peiffer Rosca Wolf Attorney Profiles

        Joseph Peiffer is the managing member of Peiffer Rosca Abdullah Carr & Kane, LLC.
His practices consist of representing individuals and institutions that have been harmed by
investment banks and brokerage firms, prosecuting ERISA class actions, and representing victims
of labor trafficking and those who have suffered catastrophic injury. He has co-authored a treatise
Litigating Business and Commercial Tort Cases, which is published by Thompson West.

Joe has also taught and lectured extensively. He co-created and taught a class entitled Storytelling
and Advocacy at Loyola Law School. Also, at Loyola Law School, he has taught a course entitled
“The Basics of Arbitration” and he also serves as an adjunct professor teaching Trial Advocacy.
He has guest lectured at Tulane Law School in its Securities Regulations class and Syracuse Law
School on securities arbitration. He has spoken at many national conventions on a variety of topics
including prosecuting large, multi-client claims, broker’s deficient advice to retire and FINRA
arbitration.

Joe has represented hundreds of individual retirees against their brokers in FINRA arbitration. The
highlights of this practice include representing 32 Exxon retirees in a 90-day FINRA arbitration
against Securities America that resulted in a $22 million verdict — one of the largest ever awarded
by a FINRA arbitration panel. He has also represented hundreds of Xerox and Kodak retirees
against their broker resulting from the broker’s fraudulent advice to retire and subsequent
unsuitable investments. He has represented hundreds of families in cases involving private
placements and Ponzi schemes.

His financial services fraud practice also includes representing hospitals and municipalities around
the country in cases involving their issuance of auction rate securities. He also serves as co-lead
counsel on several ERISA class actions against large financial services firms alleging that they did
not prudently invest retirement money and had conflicts of interest. He also is on the plaintiffs’
steering committee in a nationwide antitrust class action involving the illegal tying of cable set-
top boxes to the provision of premium cable services. Joe also currently represents hundreds of
clients in cases involving serious injuries sustained by pharmaceutical products.

Finally, he represents victims of human trafficking and labor exploitation. In one such case, the
plaintiffs have alleged that the defendants have failed to pay overtime, improperly deducted for
employee housing, and held the plaintiffs passports while in the United States. He has travelled
extensively to the Philippines for this case and another one involving a rig explosion where two of
his clients working on a rig owned by Black Elk exploded.

Joe was one of three Louisiana lawyers ranked by Chambers USA for securities litigation in 2011.
He has been named a 2013 Rising Star by his peers in the Class Action Administration
     Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 7 of 67




organization. He has been quoted by USA Today, Wall Street Journal, the Associated Press, New
York Times, New York Daily News, The Los Angeles Times, Business Week, Investment News,
and many other publications. Mr. Peiffer has also appeared on CNN. He was named as one of the
fifty Leaders in Law by New Orleans City Business Magazine.

He has also successfully risen into the leadership of several national bar associations. He twice
served as the chairman of the Business Torts Section of the American Association for Justice. He
currently serves as President of PIABA – a nationwide bar association of lawyers that represent
individuals and institutions in arbitrations to recover money lost by investment banks and
brokerage firms.

Joe graduated from Tulane School of Law, cum laude, in 1999. While at Tulane, he served on the
Tulane Law Review and was involved with the Tulane Legal Assistance Program. Prior to
attending Tulane, he graduated from Bowling Green State University in 1996 with a degree in
communications.

Alan Rosca is a securities lawyer who focuses his legal practice on complex commercial and
financial litigation and arbitration, particularly in the areas of securities and investment fraud. His
other areas of interest are ERISA, mass torts, privacy and data collection, employment cases, and
international disputes.

Alan often represents individual and institutional investors who suffered losses as a result of fraud,
Ponzi schemes, stockbroker misconduct, and other securities rule violations. He has initiated class
actions on behalf of thousands of investors nationwide who lost their savings because of
investment fraud or misconduct. He has co-counseled cases with attorneys across the country, from
class actions to FINRA arbitrations and receivership actions.

Alan has been quoted in the media on the topic of investment loss recovery from Ponzi schemes.
He has co-authored amicus curiae memoranda submitted to state Supreme Courts on behalf of
investors in securities litigation proceedings. He is currently authoring a study on the
characteristics of the typical Ponzi scheme perpetrator and recovery venues available to investors.
He also teaches Securities Regulation at the Cleveland-Marshall College of Law, Cleveland State
University and is a speaker and author on attorney ethics and professionalism.

He received his Juris Doctor degree, summa cum laude, from the Cleveland-Marshall College of
Law, Cleveland State University. While in law school, he served as a Managing Editor of the
Cleveland State Law Review, received the Dean’s scholarship for the entire Juris Doctor program,
and was on the Dean’s List. He also holds a Master of Business Administration degree from
Baldwin Wallace University, Ohio.
      Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 8 of 67




 Before becoming a lawyer, Alan worked in the securities industry and developed first-hand
 knowledge of the industry’s compliance and supervisory procedures and their practical
 enforcement. His exposure to the inner workings of the securities industry has helped him better
 represent investors as an attorney-at-law, in cases against industry actors that fail in their duties to
 protect the investing public and abide by the securities rules and regulations.

 Alan is licensed to practice law in Ohio, and was admitted before federal courts in the Fourth
 Circuit and Northern District of Ohio, and has been admitted pro hac vice in numerous federal
 district courts nationwide. He is a member of the Public Investors Arbitration Bar Association, a
 nationwide association of securities lawyers dedicated to representing investors in securities-
 related disputes.

           Adam Wolf has developed a national reputation as a leading appellate and civil rights
 litigator. He successfully argued a case in the United States Supreme Court, Safford Unified School
 District No. 1 v. Redding, 557 U.S. 364 (2009), that defined the scope of the Fourth Amendment
 regarding strip searches in public schools. The Court’s opinion in Safford marked the first time in
 forty years that the Supreme Court ruled in favor of a student who claimed that her school violated
 her constitutional rights. For his efforts in this case, Mr. Wolf was named Attorney of the Year in
 California by California Lawyer Magazine.

          Mr. Wolf has argued in numerous federal and state courts of appeals, in addition to the
 United States Supreme Court. He has represented groups and individuals whose constitutional
 rights have been violated, organizations who seek to vindicate their rights, and governmental
 entities who were harmed by corporate misconduct.

         An established appellate and civil rights litigator, Mr. Wolf has lectured around the country
regarding constitutional law and civil rights. He has been quoted in hundreds of domestic and
international newspapers, including the New York Times, Washington Post, Los Angeles Times,
USA Today, and Wall Street Journal. Additionally, Mr. Wolf has appeared on numerous television
and radio programs, including Good Morning America, CBS Evening News, ABC World News,
NBC Nightly News, CNN Headline News, National Public Radio, and the BBC.

        David Abdullah is a veteran trial attorney and former prosecutor, practicing out of the
 firm’s New Orleans office. David has strong family and civic ties to the local community and has
 been a resident of New Orleans since 1996.

 David attended Florida A&M University from 1992 to 1996, where he earned his B.S. in Business
 Economics. Thereafter, David attended Tulane Law School, receiving his Juris Doctorate in 1999.

 David has gained extensive trial and litigation experience over the course of his career. He
 practiced as an Assistant District Attorney (“ADA”) for both Orleans and Jefferson Parishes for
 ten years. As an ADA, David served as a felony trial attorney, special homicide prosecutor, Code
 6 prosecutor and appeals attorney. He also served as an Assistant Special Counsel to the Judiciary
 Commission of Louisiana.

 Following his career as a public servant, David entered began his law practice in the areas of
 occupational exposure and disease, products and premises liability, wrongful death, and criminal
 defense. David currently focuses his law practice in the areas of product liability, wrongful death,
      Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 9 of 67




 human rights, whistleblower, personal injury, employment, mass torts, and select criminal defense
 matters.

          Daniel Carr represents a diverse client base in a variety of commercial disputes, complex
 litigation, and arbitration. Daniel handles numerous state and federal lawsuits for individuals and
 businesses, and he currently represents investors, and municipalities in FINRA arbitration
 proceedings. Together with Joe Peiffer, Daniel also serves as co-counsel in several ERISA and
 antitrust class action lawsuits and represents individuals in litigation involving pharmaceutical
 products, labor exploitation, fraudulent investments, and wrongful death.

 Daniel is a member of several nationwide bar associations, including PIABA (Public Investors
 Arbitration Bar Association), and he is currently sits on the board of directors of the Business Torts
 Section of the American Association for Justice.

 Daniel received his law degree from Tulane School of Law, summa cum laude, in 2006. While at
 Tulane, he was elected Senior Articles Editor for the Tulane Law Review, and he worked as a
 fellow in the Legal Analysis Program. Following law school, Daniel was privileged to serve as a
 law clerk to Judge Jacques L. Wiener, Jr., on the United States Court of Appeals for the Fifth
 Circuit.

        Jason Kane is a securities attorney practicing out of the firm’s Upstate New York office. He
has extensive experience representing investors in Financial Industry Regulatory Authority
arbitrations and New York State Courts.

Jason graduated from the State University of New York at Geneseo in 2004 having earned his B.A.
in Economics. Thereafter, Jason attended the Syracuse University College of Law, and received his
Juris Doctorate, Cum Laude, in 2007.

While attending the Syracuse University College of Law, Jason served as a form and accuracy editor
for the Syracuse Journal of International Law and Commerce. He also gained valuable experience
as a student law clerk for Magistrate Judge George H. Lowe and served as a volunteer at the United
States Attorney’s Office in the Northern District of New York where he assisted the Assistant United
States Attorneys prosecute their cases.

Jason has represented hundreds of investors in Upstate New York and around the country in some of
the highest profile securities cases originating out of Upstate New York. He has recovered millions
of dollars in FINRA arbitration and mediation while representing individuals against their former
brokers and brokerage firms. He often assists his victimized clients through the regulatory
investigations that result from the large scale scams perpetrated by their unscrupulous brokers.
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 10 of 67




                         Exhibit 2
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 11 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 12 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 13 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 14 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 15 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 16 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 17 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 18 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 19 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 20 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 21 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 22 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 23 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 24 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 25 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 26 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 27 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 28 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 29 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 30 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 31 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 32 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 33 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 34 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 35 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 36 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 37 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 38 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 39 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 40 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 41 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 42 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 43 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 44 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 45 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 46 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 47 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 48 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 49 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 50 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 51 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 52 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 53 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 54 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 55 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 56 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 57 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 58 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 59 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 60 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 61 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 62 of 67
Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 63 of 67




                         Exhibit 3
    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 64 of 67




                                      LAW OFFICE OF
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                                   www.investorlawyers.net

Since 2004, Law Office of Christopher J. Gray, P.C. has represented (and/or currently represents)
plaintiffs in various class actions alleging violations of the Commodities Exchange Act, antitrust law,
and state law governing shareholder rights. The firm also represents and has represented investors in
disputes with the securities industry and in litigation against issuers and sellers of securities, among
others.

Attorneys

 Christopher J. Gray has spent most of his career representing individuals and small businesses in
complex litigation, arbitration, class actions, and trials and appeals in state and federal court. Mr.
Gray also has significant experience representing investors in arbitration proceedings before the
Financial Industry Regulatory Authority (“FINRA”), the National Association of Securities Dealers),
the New York Stock Exchange, Judicial Arbitration and Mediation Services (“JAMS”), and the
National Futures Association, and has obtained substantial recoveries in a number of securities and
commodities arbitration cases.

Mr. Gray holds a J.D. degree from Georgetown and a B.A. from the University of Wisconsin. He was
admitted to the bar in New York in 1997 and is a member of the bars of the U.S. District Courts for
the Eastern, Southern and Western Districts of New York, the U.S. District Court for the Eastern and
Northern Districts of Texas, the U.S. District Court for the Northern District of Ohio, the U.S. Court
of Appeals for the Second Circuit and the U.S. Supreme Court. Mr. Gray is also a member of the
New York State Trial Lawyers Association, the American Association for Justice (f/k/a American
Trial Lawyers Association) and the Public Investors Arbitration Bar Association (in which he serves
on the Board of Directors and the Self-Regulatory Organization Committee and as an associate editor
of the PIABA Bar Journal).

       In court, Mr. Gray has also achieved notable results for his clients in many instances. In
2011, Mr. Gray and co-counsel obtained a pre-judgment attachment of $72.4 million against a master
fund entity (Amaranth LLC) associated with the now-defunct hedge fund known as Amaranth. The
Amaranth master fund had sought to distribute the $72.4 million to its feeder fund investors

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    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 65 of 67



(including offshore entities) and also to its former employees as deferred compensation. See In re
Amaranth Natural Gas Commodities Litig., No. 07-CV-6377 (SAS). In 2006-07, Mr. Gray served as
court-appointed Lead Counsel in a class action in the Supreme Court of the State of New York, in
which the plaintiff obtained class certification and secured a substantial recovery (that exceeded class
members’ actual economic losses) for a class of shareholders of a former Nasdaq-listed corporation
who were involuntarily cashed out pursuant to a reverse stock split. (Spring Partners, LLC v. Scharf,
Docket No. 601004/05). Mr. Gray also has substantial experience in cases involving third-party
claims arising from Ponzi schemes, including representing approximately 300 clients in litigation
under the Commodities Exchange Act arising out of a Futures Commission Merchant’s aiding
and abetting of convicted Ponzi schemer George Hudgins. See Carey, et al. v. Hudgins, et al.,
U.S. District Court for the Eastern District of Texas Docket No. 6:08-cv-344; see also In re
Agape Litig., 681 F. Supp. 2d 352 (E.D.N.Y. 2010) (dismissing third-party claims against bank in
case arising from Ponzi scheme).

Mr. Gray has significant experience representing investors in arbitration proceedings before the
Financial Industry Regulatory Authority (“FINRA”, formerly the National Association of Securities
Dealers) and the National Futures Association and has obtained substantial recoveries in a number of
cases. In 2011 through 2014 Mr. Gray obtained a recovery of over $1 million, including an award of
attorney’s fees, on behalf of investors who alleged that respondent brokerage firm had sold them
volatile mortgage REITs via misrepresentations and omissions of material fact. See Raubvogel v.
Credit Suisse, FINRA Case No. 09-02906.

As an associate attorney with his former firm, Mr. Gray assisted in representing the plaintiffs in a
class action in which plaintiffs obtained reportedly the largest recovery ever under the Commodities
Exchange Act, $145.35 million. See In re Sumitomo Copper Litig., 194 F.R.D. 480 (S.D.N.Y. 2000)
(Pollack, J.) (certifying non-continuous class period of over two years). In 2002, Mr. Gray obtained a
$1.01 million jury verdict in an action under Section 10(b) of the Securities Exchange Act of 1934.
(Herbert Black v. Finantra Capital, Inc., S.D.N.Y. Docket No. 02-CV-6819 (JSR)). Mr. Gray also
investigated, filed and argued procedural motions in In re Avista Corp. Sec. Litig., U.S. District Court
for the Eastern District of Washington Docket No. 02-CV-328 (FVS), a securities class action that
was later settled for over $9 million.

With his current and former firms, Mr. Gray has represented the plaintiffs in the following reported
cases, among many others:

Beach v. Citigroup Alternative Investments, LLC, No. 12-CV-7717 (PKC), 2014 U.S. Dist.
LEXIS 30032 (S.D.N.Y. Mar. 7, 2014) (denying in part defendants’ motions to dismiss in case
alleging fraud in connection with sale and management of hedge fund that imploded, allegedly as
the result of losses from a single leveraged trade that implicated conflicts of interest on the part
of defendants).

In re Amaranth Natural Gas Commodities Litigation, 711 F. Supp. 2d 301 (S.D.N.Y. 2010)
(attaching $72.4 million in assets of hedge fund in action alleging manipulation of natural gas
commodities futures by hedge fund) 269 F.R.D. 366 (S.D.N.Y. 2010) (certifying class); 612 F. Supp.
2d 376 (S.D.N.Y. 2008) (denying in substantial part defendants’ motions to dismiss complaint).


                                                   2
    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 66 of 67



In re Platinum and Palladium Commodities Litigation, No. 10-CV-3617 (WHP), 2014 U.S. Dist.
LEXIS 96457 (S.D.N.Y. Jul. 15, 2014) (approving settlements on behalf of futures and physical
platinum and palladium purchasers for total cash consideration of $57.7 million).

Raubvogel v. Credit Suisse (USA) Securities LLC, 123 So. 3d 1155 (Fla. 4th DCA 2013)
(reversing lower court’s denial of petition to confirm arbitration award and refusal to award
attorneys’ fees to petitioner pursuant to the Florida Securities Act, Fla. Stat §517.211 in case in
which client obtained gross recovery of over $ 1million).

Urtubia v. BA Victory Corp., 857 F. Supp. 2d 476 (S.D.N.Y. 2012) (granting contested preliminary
certification motion and certifying class in case alleging that restaurant unlawfully withheld tips from
waiters).

Crowe v. JPMorgan Chase & Co, No. 09-CV-778, 2009 U.S. Dist. LEXIS 107961 (S.D.N.Y. Nov.
18, 2009) (denying plaintiffs’ request that case not be consolidated with other shareholder actions
against JPMorgan on behalf of shareholders of the former Bear Stearns Companies Inc.

Slayton v. American Express Co., 460 F.3d 215 (2d Cir. 2006) (obtaining reversal of U.S. District
Judge=s ruling that shareholder class action on behalf of American Express shareholders against
company and executive officers was untimely).

Univest Network, LLC v. AT&T Corp., No. 04-CV-9868 (MGC), 2006 WL 1017679 (S.D.N.Y. Apr.
19, 2006) (holding that press releases incorporated by reference in prospectus for stock offering are
statement deemed to be made as of the date of the prospectus for purposes of liability under Section
11 of Securities Act of 1933).

Sung ex rel. Lazard Ltd. v. Wasserstein, 415 F. Supp. 2d 393 (S.D.N.Y. 2006) (remand granted; state
law derivative action was not preempted under Securities Litigation Uniform Standards Act of 1998).

Berger v. Scharf, No. 600935/05, 2006 WL 825171 (N.Y. Sup. Ct. N.Y. Cty. March 29, 2006)
(denying defendants= motion to dismiss complaint in shareholder class action).

Black v. Finantra Capital, Inc., 418 F.3d 203 (2d Cir. 2005) (reversing district court=s grant of
judgment notwithstanding verdict pursuant to Fed. R. Civ. P. 50(b)).

In re Agape Litig., 681 F. Supp. 2d 352 (E.D.N.Y. 2010).

In re FBR, Inc. Sec. Litig., 544 F. Supp. 2d 346 (S.D.N.Y. 2008).




                                                   3
    Case 1:15-cv-00085-RRE-ARS Document 29-1 Filed 08/26/15 Page 67 of 67



Multi-Juice, S.A. v. Snapple Beverage Corp., No. 02-CV-4635 (RPP), 2005 WL 1138470 (S.D.N.Y.
May 12, 2005).

In re Electronic Data Sys. Corp. Sec. and ERISA Litig., 298 F. Supp. 2d 544 (E.D. Tex. 2004).

Albert Fadem Trust v. Duke Energy Corp., 214 F. Supp. 2d 314 (S.D.N.Y. 2002).

Butigian v. Port Authority of New York and New Jersey, 266 A.D.2d 133, 699 N.Y.S.2d 41 (1st
Dep=t 1999)1.

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           Gray represented defendants/appellees.

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